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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

   

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MOORE, JACQUELINE BROOKS,
DARRELL MACKEY [SIC], and
ANISSA T. SWANIGAN for
themselves and all persons
similarly situated,
Plaintiffs,

vs. Civil Action No. 2:04cv2937-B/P

NORTHWEST AIRLINES, INC.,
Defendant.

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SCHEDULING ORDER FOR POTENTIALLY COMPLEX CASE

 

Pursuant to written notice, a scheduling conference was
held on July 28, 2005. Participating were Ralph T. Gibson,
counsel for Plaintiffs, and TOdd D. Wozniak {via telephone),
counsel for' Defendant. At the conference, the following
dates were established for:

I. INITIAL MOTIONS:

Defendant has filed a Motion for Judgment on the
Pleadings with Respect to Plaintiffs' Class Action
Allegations [14-15] and a Motion to Stay Discovery [16-17].
Plaintiffs Responded to Defendant's Motion for Judgment on

the Pleadings [24] and Motion to Stay Discovery [23] and

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Defendant filed Replies to same [32, 34]. The Court granted
Defendant's Motion_ to Stay' Discovery in part and stayed
discovery' relating the class allegations until the Court
rules on Defendant’s Motion for Judgment on the Pleadings
[35]. The Court ordered that discovery on Plaintiffs’
individual claims go forward. Defendant's Motion for
Judgment on the Pleadings is currently pending before the
Court.
II. INDIVIDUAL ISSUES DISCOVERY AND BRIEFING:

Individual issues discovery will open on August 15,
2005 and will be completed by March 15, 2006.

(a) INITIAL DISCLOSURES PURSUANT To Fed. R. civ. P.
26(a)(1)=

The parties agree that initial disclosures should be
served no later than August 15, 2005.

(b) DOCUMENT PRODUCTION:

Requests for Production must be served at least thirty
(30) days before the close of individual discovery. Each
named Plaintiff may serve up to thirty (30) requests for
production on Defendant. Defendant may serve up to thirty
(30) requests for production on each named Plaintiff. These

limits include all subparts.

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(c) INTERROGATORIES:

Interrogatories must be served. at least thirty (30)
days before the close of individual discovery. Each named
Plaintiff may serve up to thirty (30) interrogatories on
Defendant. Defendant may serve up to thirty (30)
interrogatories on each named Plaintiff. These limits
include all subparts.

(d) REQUESTS FOR ADMISSIONS:

Requests for Admissions must be served at least thirty
(30) days before the close of individual discovery. Each
named Plaintiff may serve up to thirty (30) requests for
admissions on Defendant. Defendant may serve up to thirty
(30) requests for admissions on each named Plaintiff. These
limits include all subparts.

(e) DEPOSITIONS:

Depositions must be completed before the close of
individual discovery. Depositions may last up to ten (lO)
hours each.

(f) NON-CLASS EXPERT WITNESS DISCLOSURES:

(1) Plaintiffs' Rule 26(a)(2)(A) and Rule
26(a)(2)(B) non-class expert witness

disclosures shall be made no later than
December 15, 2005.

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(2) Defendant’s Rule 26(a)(2)(A) and Rule
26(a)(2)(B) non-class expert witness
disclosures shall be made no later than
January 31, 2006.

(3) Plaintiffs' non-class expert witness rebuttal
Rule 26(a)(2)(A) and Rule 26(a)(2)(B)
disclosures shall be made no later than
February 6, 2006.

(4) Non-class expert witness depositions shall be
completed on or before March 15, 2006.

III. FILING DISPOSITIVE MOTIONS ON INDIVIDUAL PLAINTIFFS’
CLAIMS:

(a) Separate dispositive motions on each of Jacqueline
Brooks', Darrell Mackey's, and Lillie Mae McGhee Alexander’s
claims shall be filed no later than May 15, 2006.

(b) Separate dispositive motions on each of Sherry
Moore’s, Anissa T. Swanigan’s, and Toni Swanigan's claims
shall be filed no later than June 15, 2006.

(c) Responses to dispositive motions on each
individual Plaintiffs' claims shall be filed within thirty
(30) days of service of a dispositive motion.

(d) Reply briefs in support of dispositive motions
shall be filed within twenty (20) days of service of the

relevant Response brief.

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IV. JOINING PARTIES/AMENDING THE PLEADINGS:

Plaintiffs and Defendant shall file any Motion for
Leave to Amend and/or to Add Additional Parties within
thirty (30) days after the Court rules on Defendant's
pending Motion for Judgment on the Pleadings with Respect to
Plaintiffs' Class Action Allegations.

V. SEVER.ANCE:

(a) Motions to Sever shall be filed no later than
thirty (30) days after the Court rules on all summary
judgment motions on individual issues.

(b) Plaintiffs' Responses to any such motions shall be
served. within7 thirty' (30) days of service of Defendant's
Motions.

(c) Defendant may file Replies within fifteen (15)
days of service of Plaintiffs’ Responses.

VI. POTENTIAL CLASS DISCOVERY A.N'D BRIEFING SCHEDULE:

Pursuant to the Court’s Order dated July 8, 2005 [35],
Granting, in part, Defendant's Motion to Stay Discovery, the
Court stayed discovery relating to the class allegations
until the Court has ruled on Defendant's Motion for Judgment
on the Pleadings. To the extent any class issues remain
after the Court has ruled on that Motion, the parties will

submit a supplemental scheduling order and planning report.

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VII. OTHER RELEVANT M.ATTERS:

No depositions may' be scheduled to occur after the
relevant discovery cutoff date. All motions, requests for
admissions, Or Other filings that require a response must be
served sufficiently in advance of the discovery cutoff date
to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served
by the discovery deadline or within 30 days of the default
or the service of the response, answer, or objection, which
is the subject of the motion, if the default occurs within
30 days of the discovery’ deadline, unless the time for
filing of such motion is extended for good cause shown, or
the objection to the default, response, answer, or objection
shall be waived.

This case is set for a jury trial. The pretrial order
dater pretrial conference date, and trial date will be set
by the presiding judge. If the case goes forward on

existing individual claims, and if each plaintiff is severed
for purposes at trial, the parties expect trial will last
three (3) days per plaintiff (18 total trial days).

This case is appropriate for' ADR. The parties are
directed to engage in court-annexed attorney mediation or
private mediation before the close of all discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed.
R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a
proposed order.

The opposing party may file a response to any motion

filed in this matter. Except as set forth in this Order,
neither party may file an additional reply without leave of
the court. If a party believes that a reply is necessary,

it shall file a motion for leave to file a reply accompanied
by a memorandum setting forth the reasons for which a reply
is required.

The parties have not consented to trial before the
magistrate judge.

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This order has been entered. after consultation with
trial counsel pursuant to notice. Absent good Cause shown,
the scheduling dates set by this order will not be modified
or extended.

IT IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge

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Date

 

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This notice confirms a copy of the document docketed as number 37 in
case 2:04-CV-02937 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

